Case 16-01528-RG          Doc 98      Filed 03/08/22 Entered 03/08/22 10:44:00              Desc Main
                                      Document      Page 1 of 2




VIA ELECTRONIC FILING                                                                  February 3, 2022

Honorable Rosemary Gambardella
United States Bankruptcy Court
District of New Jersey
50 Walnut Street
3rd Floor
Newark, New Jersey 07102

        RE:     Jacobs v. Nationstar, et al
                Adversarial Proceeding No.: 16-01528-RG

Your Honor:
        My office represents non-party BSI Financial Services (“BSI”), the successor loan servicer to

defendant Nationstar Mortgage, LLC. We write in response to the Status Letter to the Court submitted by

attorney John P. Fazzio, III, Esq. on February 14, 2022 regarding debtor Randall Jacobs’ (“Debtor”) loss

mitigation application with BSI (“Status Letter”).

        Contrary to representations in the Status Letter, Debtor’s most recent loan modification

application was fully reviewed by BSI and denied in August 2021. BSI also denied Debtor’s appeal of

that determination in November 2021.

        The Status Letter inaccurately depicts correspondence between Mr. Fazzio’s office and my office

regarding Debtor’s denied application. First, Mr. Fazzio’s letter misdescribes an email from my office to

his on November 24, 2021, by claiming that My firm indicated that BSI’s appeal review was not

completed because Debtor provided insufficient proof of his income. In fact, our email made clear that

the appeal was denied after a full review that used the income figures Debtor did provide and not because

additional figures were needed. The Status Letter also seemed to imply that my office indicated BSI was

preparing additional correspondence that would instruct Debtor as to additional documents needed to

complete the review of the appeal. In fact, the only documentation the email said would be forthcoming

was a letter memorializing the denial of the appeal. Our email gave no indication that additional

documents were needed from the borrower or would be considered in connection with the appeal.



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Case 16-01528-RG            Doc 98       Filed 03/08/22 Entered 03/08/22 10:44:00             Desc Main
                                         Document      Page 2 of 2




        The Status Letter also provides an inaccurate picture of correspondence between our offices on

February 14, 2022, the day he filed the Status Letter. That morning, Mr. Fazzio’s office emailed my

office, expressing some confusion about the debtor’s loss mitigation appeal and his office’s recent receipt

of the original August 2021 denial letter, which had also been provided to them months earlier. I

promptly responded, clearing up any confusion by reiterating that the appeal was denied, making clear

that BSI was no longer actively reviewing Debtor’s loss mitigation application, attaching a copy of the

November appeal denial letter, and adding that if Debtor wanted to BSI to consider additional financial

documents in connection with a loan modification application, the lender would likely require an entirely

new application. As I sent this response roughly three-and-a-half hours before Mr. Fazzio filed the Status

Letter, his office was clearly on notice that the appeal was denied based on a full review of the provided

documents before it filed that letter.

        Please feel free to reach out to me should you have any questions or concerns.



                                                                FRIEDMAN VARTOLO LLP
                                                                /s Michael Eskenazi
                                                                Michael E. Eskenazi, Esq.




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